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                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION



SECURITIES AND EXCHANGE
COMMISSION,

                  Plaintiff,

                     v.                              Case No. 1:21-CV-03944-JPB

STAR CHAIN, INC. and
TIMUR EFE,
  (a/k/a OMER CASURLUK)

                Defendants.




           JUDGMENT AS TO DEFENDANT STAR CHAIN, INC.

      The Securities and Exchange Commission having filed a Complaint and

Defendant Star Chain, Inc. (“Defendant”) having entered a general appearance;

consented to the Court’s jurisdiction over Defendant and the subject matter of this

action; consented to entry of this Judgment without admitting or denying the

allegations of the Complaint (except as to jurisdiction); waived findings of fact and

conclusions of law; and waived any right to appeal from this Judgment:
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                                           I.

      IT IS HEREBY ORDERED, ADJUDGED AND DECREED that

Defendant is permanently restrained and enjoined from violating, directly or

indirectly, Section 10(b) of the Securities Exchange Act of 1934 (the “Exchange

Act”) [15 U.S.C. § 78j(b)] and Rule 10b-5 promulgated thereunder [17 C.F.R. §

240.10b-5], by using any means or instrumentality of interstate commerce, or of

the mails, or of any facility of any national securities exchange, in connection

with the purchase or sale of any security:

      (a)      to employ any device, scheme or artifice to defraud;

      (b)      to make any untrue statement of a material fact or to omit to state a

      material fact necessary in order to make the statements made, in the light of

      the circumstances under which they were made, not misleading; or

      (c)      to engage in any act, practice or course of business which operates or

      would operate as a fraud or deceit upon any person by, directly or

      indirectly, (i) creating a false appearance or otherwise deceiving any

      person, or (ii) disseminating false or misleading documents, materials or

      information or making, either orally or in writing, any false or misleading

      statement in any communication with any investor or prospective

      investor, about:

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            (A) any investment strategy or investment in securities,


             (B) the prospects for success of any product or company,


             (C) the use of investor funds,


            (D) compensation to any person,


             (E) Defendant’s qualifications to advise investors, or


             (F) the misappropriation of investor funds or investment proceeds.


      IT IS FURTHER ORDERED, ADJUDGED AND DECREED that, as

provided in Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraph

also binds the following who receive actual notice of this Judgment by personal

service or otherwise: (a) Defendant’s officers, agents, servants, employees and

attorneys; and (b) other persons in active concert or participation with Defendant

or with anyone described in (a).

                                        II.

       IT IS HEREBY FURTHER ORDERED, ADJUDGED AND

DECREED that Defendant is permanently restrained and enjoined from violating

Section 17(a) of the Securities Act of 1933 (the “Securities Act”) [15 U.S.C. §

77q(a)] in the offer or sale of any security by the use of any means or instruments

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of transportation or communication in interstate commerce or by use of the mails,

directly or indirectly:

      (a)      to employ any device, scheme or artifice to defraud;

      (b)      to obtain money or property by means of any untrue statement of a

               material fact or any omission of a material fact necessary in order to

               make the statements made, in light of the circumstances under which

               they were made, not misleading; or

      (c)      to engage in any transaction, practice or course of business which

               operates or would operate as a fraud or deceit upon the purchaser by,

               directly or indirectly, (i) creating a false appearance or otherwise

               deceiving any person, or (ii) disseminating false or misleading

               documents, materials or information or making, either orally or in

               writing, any false or misleading statement in any communication

               with any investor or prospective investor, about:

               (A) any investment strategy or investment in securities,

               (B) the prospects for success of any product or company,

               (C) the use of investor funds,

               (D) compensation to any person,

               (E) Defendant’s qualifications to advise investors; or

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             (F) the misappropriation of investor funds or investment proceeds.


      IT IS FURTHER ORDERED, ADJUDGED AND DECREED that, as

provided in Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraph also

binds the following who receive actual notice of this Judgment by personal service

or otherwise: (a) Defendant’s officers, agents, servants, employees and attorneys;

and (b) other persons in active concert or participation with Defendant or with

anyone described in (a).

                                         III.

       IT IS HEREBY FURTHER ORDERED, ADJUDGED AND

DECREED that Defendant shall pay disgorgement of ill-gotten gains,

prejudgment interest thereon and a civil penalty pursuant to Section 20(d) of the

Securities Act [15 U.S.C. § 77t(d)] and Section 21(d)(3) of the Exchange Act [15

U.S.C. § 78u(d)(3)]. The Court shall determine the amounts of the disgorgement

and civil penalty upon motion of the Commission. Prejudgment interest shall be

calculated based on the rate of interest used by the Internal Revenue Service for

the underpayment of federal income tax as set forth in 26 U.S.C. § 6621(a)(2). In

connection with the Commission’s motion for disgorgement and/or civil penalties,

and at any hearing held on such a motion: (a) Defendant will be precluded from

arguing that he did not violate the federal securities laws as alleged in the
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Complaint; (b) Defendant may not challenge the validity of the Consent or this

Judgment; (c) solely for the purposes of such motion, the allegations of the

Complaint shall be accepted as and deemed true by the Court; and (d) the Court

may determine the issues raised in the motion on the basis of affidavits,

declarations, excerpts of sworn deposition or investigative testimony and

documentary evidence, without regard to the standards for summary judgment

contained in Rule 56(c) of the Federal Rules of Civil Procedure. In connection

with the Commission’s motion for disgorgement and/or civil penalties, the parties

may take discovery, including discovery from appropriate non-parties.

                                         IV.

      IT IS FURTHER ORDERED, ADJUDGED AND DECREED that the

Consent is incorporated herein with the same force and effect as if fully set forth

herein and that Defendant shall comply with all of the undertakings and

agreements set forth therein.

                                         V.

      IT IS FURTHER ORDERED, ADJUDGED AND DECREED that this

Court shall retain jurisdiction of this matter for the purposes of enforcing the terms

of this Judgment.



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                                        VI.

      There being no just reason for delay, pursuant to Rule 54(b) of the

Federal Rules of Civil Procedure, the Clerk is ORDERED to enter this

Judgment forthwith and without further notice. The Clerk is further

DIRECTED to close the case. The Commission is DIRECTED to file a

motion as to the amount of disgorgement and any civil penalties owed by

Defendant within thirty days of the entry of this Judgment.


SO ORDERED this 1st day of February, 2022.




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